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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION

GEORGE DOWNING, an individual;
PAUL STRAUCH, an individual; RICK
STEERE, an individual; RICHARD
(BUFFALO) KEAULANA, an
individual; BEN AIPA, an
individual; MIKE DOYLE, an
individual; and JOEY CABELL, an

CASE NO. CV 99-4612 R(MCX)

ORDER DENYING PLAINTIFFS’
MOTION FOR SUMMARY JUDGMENT

individual,
Hearing:
Plaintiffs, DATE: February 4, 2002
TIME: 10:00 a.m.
vs. PLACE: Courtroom of the
Honorable Manuel
ABERCROMBIE & FITCH, an Ohio L. Real

Corporation; and DOES l through
50, inclusive,

Defendants.

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The Motion for Summary Judgment brought by plaintiffs GEORGE
DOWNING, PAUL STRAUCH, RICK STEERE, RICHARD (BUFFALO) KEAULANA, BEN
AIPA, MIKE DOYLE, and JOEY CABELL ("Plaintiffs") came on regularly

for hearing on Monday, February 4, ZQQ§L_;n the Courtroom of the

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Honc>rable Manuel L. Re ]E'\`!\B`£é&':

 

 

 

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appeared on behalf of Plaintiffs. Joel McCabe Smith and Lincoln D.

Bandlow appeared on behalf of defendant ABERCROMBIE & FITCH.

After due consideration of the pleadinqs, the files in this

matter and argument of counsel;

IT IS HEREBY ORDERED that Plaintiffs' Motion for Summary

Judgment is DENIED.

DATED: Sb. \?( wz__

 

 

UNITED STATES DISTRICT JUDGE

Respectfully Submitted by:

l%A/\

JOEL MCCABE SMITH fSBN 050973]
DAVID ARONOFF [SBN 125694]
LINCOLN D. BANDLOW [SBN 170449]
LEOPOLD, PETRICH & SMITH

A Professional Corporation
Attorneys for Defendant
ABERCROMBIE & FITCH

 

 

 

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PROOF OF SERVICE

STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

I am employed in the County of Los Angeles, State of
California. I am Over the age of 18 years and not a party to the
within action; my business address is 2049 Century Park East, Los
Angeles, California 90067-3274.

On February 5, 2002, I served the foregoing document described
as ORDER DENYING PLAINTIFFS' HOTION FOR SUMMARY JUDGMENT On the
interested parties in this action by placing a true copy thereof
enclosed in a sealed envelope addressed as follows:

Brent H. Blakely, Esq.

CARLSMITH BALL

444 South Flower Street, 9th Floor
Los Angeles, California 90071

Fax No. (213) 623-0032

_§_ (BY U.S. MAIL) l caused such envelope with postage fully
prepaid to be placed in the United States mail at Los Angeles,
California. I am "readily familiar" with the firm’s practice
of collection and processing correspondence for mailing. It
is deposited with the U.S. postal service on that same day in
the ordinary course of business. I am aware that on motion of
party served, service is presumed invalid if postal
cancellation date or postage meter date is more than one day
after date of deposit for mailing in affidavit.

(B! PERSONAL SERVICE) I {X] caused to be [] delivered by hand
such envelope to the offices of the addressee.

X (BY TELECOPIER) An additional copy of said document was sent
on the same date to each of the addressees stated above at the
specified telefax numbers.

Executed on February 5, 2002, at Los Angeles, California.

(State) I declare under penalty of perjury under the laws of
the State of California that the above is true and correct.

X (Federal) I declare that I am employed in the office of a
member of the bar of this Court at whose direction the service
is made. \

 

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TYPe or Print Name K\\`_F://) \ \,/

 

 

 

 

 

